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 1 SO. CAL. EQUAL ACCESS GROUP
   Jason J. Kim (SBN 190246)
 2 Jason Yoon (SBN 306137)
   101 S. Western Ave., Second Floor
 3 Los Angeles, CA 90004
   Telephone: (213) 252-8008
 4 Facsimile: (213) 252-8009
   scalequalaccess@yahoo.com
 5 Attorneys for Plaintiff, COLTON BRYANT
 6
 7                       UNITED STATES DISTRICT COURT

 8                       CENTRAL DISTRICT OF CALIFORNIA

 9 COLTON BRYANT,                                 Case No.: 2:20-cv-05024 AB (Ex)

10                Plaintiff,                      NOTICE OF SETTLEMENT OF
11                                                ENTIRE CASE
           vs.
12
13 J SKY INVESTMENT II, INC D/B/A
   BNC COIN OP LAUNDRY; DBF 1,
14 LLC; DONG IL PARK D/B/A COIN-
15 OP-LAUNDRY; THE NACKOUD
   BROTHERS LLC; DOES 1 to 10,
16
             Defendants.
17
18
19         Notice is hereby given that Plaintiff COLTON BRYANT ("Plaintiff") and

20 Defendants have settled the above-captioned matter as to the entire case. Parties
21 requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
22 to file dispositional documents in order to afford Parties time to complete settlement.
23   DATED: March 19, 2021                        SO. CAL EQUAL ACCESS GROUP
24
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26                                                      /s/ Jason J. Kim
                                                  JASON J. KIM
27                                                Attorney for Plaintiff
28

                                                         NOTICE OF SETTLEMENT OF ENTIRE CASE
